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 5
     Attorney for Juan Camacho
 6
 7                    IN THE UNITED STATES DISTRICT COURT
 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9   UNITED STATES OF AMERICA,          )
                                        ) Cr. No. S 07-170 LKK
10           Plaintiff,                 ) Cr. No. S 07-428 LKK
                                        ) Cr. No. S 07-289 LKK
11      v.                              )
                                        ) STIPULATION AND ORDER FOR
12   JUAN CAMACHO, et al                ) CONTINUANCE
                                        ) (Nov. 23, 2010 at 9:15 AM
13                                      ) before Judge Karlton)
             Defendant,                 )
14   ___________________________________)
15
16          A status conference is now set for October 19 , 2010.
17     The Pre-Plea report in these cases has        been received and
18   Counsel for the Defendant and an interpreter must travel to the
19   Butte County Jail to review the report with the Defendant. In
20   addition, the United States Attorney prosecuting the case is
21   out of the area until after the date now set for possible change
22   of plea.
23     For those reasons the parties request the following stipulation
24   be approved:
25        IT IS STIPULATED between the plaintiff, United States of
26   America and the Defendant, by and through their counsel that
27   the Status Conference be continued to November 23, 2010 at 9:15 AM.
28                                         1
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 1   Time for trial has previously been excluded under the Speedy Trial
 2   Act due to complexity and counsel preparation, (Local Codes T2 and
 3   T4.   The parties stipulate that such exclusion be continued until
 4   November 23, 2010.
 5
 6
 7 Dated October 11, 2010
 8     s/s CAROLYN DELANEY                        s/s J TONEY
       Carolyn Delaney                             J Toney
 9 First Assistant U.S. Attorney                Attorney for Defendant
10                                 ORDER
11         SO ORDERED.
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     DATED: October 14, 2010
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